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AO 91 (Rev. 08/09) Criminal Complaint


                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                         Western District of Texas
                                                                                                                               _j    /-'.f ,
                                                                                                                                          if:   pr)
                  United States of America                               )
                              v.                                         )
                                                                         )      CaseNo.
         Gustavo Alejandro JURADO-Leon and                               )
          Mayra Selene CARBAJAL-Herrera

                           Defrndant(s)
                                                                         )
                                                                         )                                                     i(t)
                                                         CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best       of my knowledge and belief.
                             of                   09/19/2019                    in the county of              Hudspeth                         in the
On or about the date(s)
      Western          District of               Texas            ,   the defendant(s) violated:

           Code Section                                                            Offense Description
Title 8 u.s.c § 1324 (a)(1 )(A)(ii)               Conspiracy to knowing and in reckless disregard of the fact that an alien has
and (a)(1)(A)(v)                                  come to, entered, and remained in the United States in violation of law, did
                                                  transport, move, and attempt to transport and move such alien within the
                                                  United States in furtherance of said violation of law.




          This criminal complaint is based on these facts:
 SEE ATTACHED AFFIDAVIT




           i1   Continued on the attached sheet.



                                                                                                        plaifr1ai7t's signature


                                                                                             Juan   A. Ortiz, HSI Special           Agent
                                                                                                     Printed name and title


 Sworn to before me and signed in my presence.


 Date:             09/23/2019
                                                                                                              'S   signature


 City and state:                          El   Paso, Texas                                Miguel Torres U.S. Magistrate Judge
                                                                                                   Printed name and title
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                                      AFFIDAVIT

On September 19, 2019, at approximately 1:45 p.m., U.S. Border Patrol Agents (BPAs)
assigned to the Sierra Blanca, Texas, U.S. Border Patrol Station (USBP) conducted an
immigration inspection of a white 2009 Chevy Suburban bearing Texas temporary plates
of 46078G1. The BPAs noted the vehicle was occupied by eight (8) individuals. The
BPAs identified themselves and began to question each occupant as to their citizenship
and immigration status. The BPAs questioned and identified the driver as Gustavo
JURADO-Leon (JURADO) and front passenger as Mayra Selene CARBAJAL-Herrera
(CARBAJAL), who both stated they were United States citizens.

The BPAs proceeded to question the six (6) other passengers and noticed they all
appeared nervous and avoiding eye contact. The BPAs asked one the passengers where
she was born and if she had an identification. The BPAs noted the passenger answered
she was from El Paso and denied having an identification. The BPAs asked additional
questions about El Paso and the subject remained silent and wouldn't answer. The BPAs
asked another male passenger his citizenship and where he was born. The BPAs again
noted the passenger remained silent and subsequently stated he was a U.S. citizen and
was from El Paso. The BPAs then asked the passenger for an identification, at which
point, the driver JURADO interrupted and stated that all the passengers were U.S.
citizens and did not need to provide any form of identification. The BPAs requested
JURADO'S driver license and referred him for secondary inspection.

In secondary inspection, all six (rear seat) passengers admitted to not having immigration
documents to allow them to remain in the United States. The six passengers were citizens
and nationals of Ecuador. All subjects were detained.

Homeland Security Investigation (HSI) Special Agents (SA) Juan Ortiz and SA Cesar
Romero responded to the Border Patrol Station to initiate an investigation on the alien
smuggling attempt.

 SA Romero, SA Ortiz, and Border Patrol Agent Gabriel De La Cruz proceeded to
 conduct an interview of JURADO. JURADO was advised of his rights in the Spanish
 language by SA Romero and witnessed by SA Ortiz. JURADO stated he understood his
 rights. The agents then asked JURADO if he was willing provide a statement without the
 presence of an attorney. At which point, JURADO stated he didn't know what was going
 on, he was only doing a favor to the subjects who were stranded. The agents stopped
 JURADO and again asked him if he was willing provide a statement without the presence
 of an attorney. JURADO then stated he probably was going to be arrested anyway and
 wished to have an attorney.

 SA Romero, SA Ortiz, and Border Patrol Agent Gabriel De La Cruz proceeded to
 conduct an interview of CARBAJAL. CARBAJAL was advised of her rights in the
 Spanish language by SA Romero and witnessed by SA Ortiz. CARBAJAL invoked her
 right to have an attorney present.
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C.M.N. and C.R.U. who were apprehended during this event; are listed here by their
initials and were retained as Material Witnesses. SA Romero, SA Ortiz, and Border
Patrol Agent Gabriel De La Cruz proceeded to conduct an interview of C.M.N. and
C.R.U. Both C.M.N. and C.R.U. admitted they paid a fee to an Alien Smuggling
Organization (ASO) to be smuggled into the United States. C.M.N. and C.R.U. positively
identified JURADO and CARBAJAL as the individuals who provided them food and
new clothes at stash house, provided transportation and instructed them to stay calm and
say they were U.S. citizens at the checkpoint. AUSA Phil Countrymen was presented
with the facts and accepted prosecution of both JURADO and CARBAJAL for 8 USC
 1324, Alien Smuggling.

I make this affidavit on the basis of my personal knowledge and information provided to
me by other law enforcement officers. Because this affidavit is being submitted for the
limited purpose of establishing probable cause as set forth herein, I have not included
each and every fact known to me concerning this investigation.
